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                                         United States District Court
                                        Western District of Washington




                                                              Case Number: 2:21-cv-00275
Center for Biological Diversity

 Plaintiff(s)                                                 APPLICATION FOR LEAVE TO APPEAR
                                                              PRO HAC VICE
 V.


U.S. Army Corps of Engineers, et al.

 Defendant(s)

Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,
Cari Miyoko Sakashita                               hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:
Center for Biological Diversity


The particular need for my appearance and participation is:

To assist local counsel in preparing filings and briefing the case, for which I am a subject-matter
expert.



I, Cari Miyoko Sakashita                            understand that I am charged with knowing and complying with
all applicable local rules;

I have not been disbarred or formally censured by a court of record or by a state bar association; and there are
not disciplinary proceedings against me.

I declare under penalty of perjury that the foregoing is true and correct.


        03/05/2021                                                              Cari Miyoko Sakashita
Date:                                              Signature of Applicant: s/


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Pro Hac Vice Attorney

Applicant's Name:                   Cari Miyoko Sakashita
Law Firm Name:                      Center for Biological Diversity
Street Address 1:                   1212 Broadway, Suite 800
Address Line 2:

City:   Oakland                                        State:   CA          Zip:    94612
Phone Number w/ Area Code 510-844-7100             Bar #                  239639             State   CA
Primary E-mail Address: miyoko@biologicaldiversity.org
(Primary E-Mail address must be for the Pro Hac attorney and not any subordinate or staff member)

Secondary E-mail Address:       celkins@biologicaldiversity.org


                                       STATEMENT OF LOCAL COUNSEL

I am authorized and will be prepared to handle this matter, including trial, in the event the
applicant Cari Miyoko Sakashita                                    is unable to be present upon any date
assigned by the court.
        03/05/2021                                                    Sophia N. Ressler
Date:                             Signature of Local Counsel: s/

Local Counsel's Name:               Sophia N. Ressler
Law Firm Name:                      Center for Biological Diversity
Street Address 1:                   2400 NW 80th Street, #146
Address Line 2:

City:   Seattle                                        State:   WA          Zip:    98117
Phone Number w/ Area Code           (206) 900-7953                Bar #    48406




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                                Electronic Case Filing Agreement




 By submitting this form, the undersigned understands and agrees to the following:

1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
   notices.

2. The PACER password combined with your login, serves as your signature under Federal Rule of Civil
   Procedure 11 and 5(d)(3)(C). Therefore, you are responsible for protecting and securing this password
   against unauthorized use.

3. If you have any reason to suspect that your password has been compromised in any way, you are
   responsible for immediately notifying the court. Court staff will assess the risk and advise accordingly.

4. By signing this Registration Form, you consent to receive notice electronically and waive your right to
   receive notice by personal service or first-class mail pursuant to Federal Rule of Civil Procedure
   5(b)(2)(C), except with regard to service of a complaint and summons. This provision does include
   electronic notice of the entry of an order or judgment.

5. You will continue to access court information via the Western District of Washington's internet site or
   through the Public Access to Court Electronic Records (PACER) system. After January 27,2020, a PACER
   login and password, will be required to electronically file. You can register for PACER access at their web
   site: www.pacer.gov.

6. By completion of this registration, the undersigned agrees to abide by the rules and regulations in the
   most recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
   changes or additions that may be made to such administrative procedures in the future.


 Date Signed
               03/05/2021 Signature              s/
                                                       Cari Miyoko Sakashita
                                                       (Pro Hac Vice applicant name)




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